  Case 1:19-cv-01856-SB Document 21 Filed 11/17/20 Page 1 of 2 PageID #: 297




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 M.P. MOON, individually and as representative
 of a class of participants and beneficiaries in and
 on behalf of the DuPont Pension and Retirement
 Plan,
                                                       C.A. No.: 19-1856-MN
                Plaintiff,

        v.

 Corteva, Inc. and DuPont de Nemours, Inc.,

                Defendants.


         DEFENDANTS’ MOTION TO DISMISS THE AMENDED COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendants Corteva, Inc. and DuPont

de Nemours, Inc. hereby move to dismiss Plaintiff M.P. Moon’s First Amended Class Action

Complaint [D.I. 19] for failure to state a claim upon which relief may be granted. The grounds for

this Motion are set forth in Defendants’ Opening Brief in Support of their Motion to Dismiss

Plaintiff’s Amended Complaint, filed contemporaneously herewith.

Dated: November 17, 2020                      /s/ Beth Moskow-Schnoll
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Case 1:19-cv-01856-SB Document 21 Filed 11/17/20 Page 2 of 2 PageID #: 298




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